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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS

SYMBOLOGY INNOVATIONS, LLC                      §
                                                §
       Plaintiff,                               §            Case No:
                                                §
vs.                                             §            PATENT CASE
                                                §
EXXON MOBIL CORPORATION                         §
                                                §
       Defendant.                               §


                                           COMPLAINT

       Plaintiff Symbology Innovations, LLC (“Plaintiff” or “Symbology”) files this

Complaint against Exxon Mobil Corporation (“Defendant” or “Exxon”) for infringement of

United States Patents No. 8,424,752, No. 8,651,369, and No. 8,936,190 (hereinafter “the ‘752

Patent,” “the ‘369 Patent,” and “the ‘190 Patent”).

                              PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States

Code. Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with its principal office located at

1400 Preston Road, Suite 400, Plano, Texas 75093.

       4.      Upon information and belief, Defendant is a New Jersey corporation with its

corporate headquarters located at 5959 Las Colinas Blvd., Irving, TX, 75039-2298. Defendant

may be served through its registered agent, Corporation Service Company, at 211 E. 7th Street,




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Suite 620, Austin, TX 78701. This Court has personal jurisdiction over Defendant because

Defendant has committed, and continues to commit, acts of infringement in the state of Texas,

has conducted business in the state of Texas, and/or has engaged in continuous and systematic

activities in the state of Texas. Specifically, and without limitation, Defendant is registered to

do business in Texas through its registered agent, Corporation Service Company d/b/a CSC-

Lawyers Incorporating Service Company, at 211 E. 7th Street, Suite 620, Austin, TX 78701-

3218 USA.

       5.      Upon information and belief, Defendant’s instrumentalities that are alleged

herein to infringe were and continue to be used, imported, offered for sale, and/or sold in the

Eastern District of Texas.

                                              VENUE

       6.      Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. §§

1391(c) and 1400(b) because Defendant is deemed to reside in this district. In addition, and in

the alternative, Defendants have committed acts of infringement in this District.

                                  COUNT I
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,424,752)

       7.      Plaintiff incorporates paragraphs 1 through 6 herein by reference.

       8.      This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       9.      Plaintiff is the owner by assignment of the ‘752 patent with sole rights to

enforce the ‘752 patent and sue infringers.

       10.     A copy of the ‘752 Patent, titled “System and Method for Presenting

Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit A.

       11.     The ‘752 Patent is valid, enforceable, and was duly issued in full compliance



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with Title 35 of the United States Code.

       12.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least claim 1, of the ‘752 patent by using a Quick Response

Code (QR code) in a manner covered by one or more claims of the ‘752 patent. Defendant has

infringed and continues to infringe the ‘752 patent either directly or through acts of

contributory infringement or inducement in violation of 35 U.S.C. § 271.

       13.     Defendant uses QR codes on and/or in connection with its Speedpass+™

system and on its Speedpass+™ QR pumps.                 This use is partially described at

https://itunes.apple.com/us/app/speedpass+/id668175318?mt=8.        This use of QR codes

infringes at least Claim 1 of the ‘752 Patent. A user may image the pump with the QR code,

decode the QR code with the imaging device, and receive, on the imaging device, information

about Defendant’s products, including information regarding the specific pump being used by

the user.

       14.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

       15.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendants are

enjoined and restrained by this Court.

       16.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                 COUNT II
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,651,369)

       17.     Plaintiff incorporates paragraphs 1 through 16 herein by reference.

       18.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.



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       19.     Plaintiff is the owner by assignment of the ‘369 patent with sole rights to

enforce the ‘369 patent and sue infringers.

       20.     A copy of the ‘369 Patent, titled “System and Method for Presenting

Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit B.

       21.     The ‘369 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

       22.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least claim 1, of the ‘369 patent by using a Quick Response

Code (QR code) in a manner covered by one or more claims of the ‘369 patent. Defendant has

infringed and continues to infringe the ‘369 patent either directly or through acts of

contributory infringement or inducement in violation of 35 U.S.C. § 271.

       23.     Defendant uses QR codes on and/or in connection with its Speedpass+™

system and on its Speedpass+™ QR pumps.                 This use is partially described at

https://itunes.apple.com/us/app/speedpass+/id668175318?mt=8.        This use of QR codes

infringes at least Claim 1 of the ‘369 Patent. A user may image the pump with the QR code,

decode the QR code with the imaging device, and receive, on the imaging device, information

about Defendant’s products, including information regarding the specific pump being used by

the user.

       24.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

       25.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendants are

enjoined and restrained by this Court.




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       26.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                 COUNT III
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,936,190)

       27.     Plaintiff incorporates paragraphs 1 through 26 herein by reference.

       28.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       29.     Plaintiff is the owner by assignment of the ‘190 patent with sole rights to

enforce the ‘190 patent and sue infringers.

       30.     A copy of the ‘190 Patent, titled “System and Method for Presenting

Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit C.

       31.     The ‘190 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

       32.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least claim 1, of the ‘190 patent by using a Quick Response

Code (QR code) in a manner covered by one or more claims of the ‘190 patent. Defendant has

infringed and continues to infringe the ‘190 patent either directly or through acts of

contributory infringement or inducement in violation of 35 U.S.C. § 271.

       33.     Defendant uses QR codes on and/or in connection with its Speedpass+™

system and on its Speedpass+™ QR pumps.                 This use is partially described at

https://itunes.apple.com/us/app/speedpass+/id668175318?mt=8.        This use of QR codes

infringes at least Claim 1 of the ‘190 Patent. A user may image the pump with the QR code,

decode the QR code with the imaging device, and receive, on the imaging device, information

about Defendant’s products, including information regarding the specific pump being used by

the user.



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          34.   Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

          35.   Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendants are

enjoined and restrained by this Court.

          36.   Plaintiff is in compliance with 35 U.S.C. § 287.

                                   PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)   Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)   Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patents No. 8,424,752, No. 8,651,369,

and No. 8,936,190 (or, in the alternative, awarding Plaintiff running royalties from the time of

judgment going forward);

          (c)   Award Plaintiff damages resulting from Defendant’s infringement in

accordance with 35 U.S.C. § 284;

          (d)   Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)   Award Plaintiff such further relief to which the Court finds Plaintiff entitled

under law or equity.



Dated: March 23, 2015




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                                 Respectfully submitted,



                                     /s/Jay Johnson
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                              EXHIBIT A
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                               EXHIBIT B
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                               EXHIBIT C
